           Case 1:22-cr-00412-TSC Document 27 Filed 03/05/23 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.                                        Crim. Action No.: 22CR412

    SCOTT MILLER,

                       Defendant.



                SCOTT MILLER’S EMERGENCY MOTION FOR
                MODIFICATION TO CONDITONS OF RELEASE

         Scott Miller, through counsel, respectfully submits this Motion for an Order

permitting him to attend a job interview on March 8, 2023, at 10:00. The current

Order setting release conditions orders that he seek permission from the Court to

attend job interviews. Mr. Miller has a scheduled job interview at a local business

close to his home, Catocin Furnace Liquors. 1 He moves for permission to attend the

job interview. The government does not oppose this request provided that Pre-Trial

Services confirms and approves the appointment in advance. In support of this

Motion, counsel states:

                                         Background

         Mr. Miller is before the Court charged by Indictment with various offenses

arising out of the events at the Capitol on January 6, 2021.

         On December 30, 2022, the Honorable Moxila A. Upadhyaya released Mr.

Miller to home incarceration. The Order setting conditions of release permits Mr.


1
    A letter from the owner of Catoctin Liquors is attached.
            Case 1:22-cr-00412-TSC Document 27 Filed 03/05/23 Page 2 of 2




Miller to “leave his residence to go work at NVR incorporated.” If the defendant is no

longer employed at NVR Incorporated, the defendant must seek permission from the

Court to seek other employment and/ or attend job interviews.” ECF. No. 19. Counsel

previously moved this Court to modify Mr. Miller’s conditions so that he is permitted

to attend neo-natal visits and work on a nearby property. ECF. No. 26. That motion

is still pending. In the meantime, Mr. Miller notified undersigned counsel and

probation that he has been invited to interview at Cacotin Liquors. 2 The interview is

scheduled for March 8 at 10:00 a.m.

         Employment of any kind will enable Mr. Miller to use his time productively

and to earn income to prepare for the birth of his first child. While it may be

inappropriate for some defendants to work in a liquor store, Mr. Miller does not have

issues with substance abuse that would give rise to any concern in that regard.

         Wherefore the reasons stated herein and any others that appear to the Court,

Mr. Miller moves the Court for an Order permitting him to attend a job interview on

March 8, 2023 at 10 a.m.

                                        Respectfully submitted,

                                        A. J. KRAMER
                                        FEDERAL PUBLIC DEFENDER

                                               /s/
                                        _____________________________
                                        ELIZABETH MULLIN
                                        Assistant Federal Public Defender
                                        625 Indiana Avenue, N.W., Suite 550
                                        Washington, D.C. 20004
                                        (202) 208-7500


2
    See attached letter.
